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 6
     Attorney for Plaintiff
 7

 8                       UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
10

11
                                                Case No.:
     ANGELA BROCK
12
                                                COMPLAINT for violations of the Fair
                              Plaintiff,        Debt Collection Practices Act, 15 U.S.C.
13
                                                § 1692 et seq. and the Rosenthal Fair
                -against-                       Debt Collections Practices Act, Cal. Civ.
14
                                                Code § 1788 et seq. and DEMAND
     SYSTEMATIC NATIONAL                        FOR JURY TRIAL
15
     COLLECTIONS, INC.

16
                              Defendant.

17         Plaintiff Angela Brock ("Plaintiff") by and through her attorneys, The Law
18   Offices of Jonathan A. Stieglitz, as and for her Complaint against Defendant
19
     Systematic National Collections, Inc. ("Defendant") respectfully sets forth,
20

21   complains and alleges, upon information and belief, the following:
22
                                JURISDICTION AND VENUE
23
           1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C.
24

25         § 1331, as well as 15 U.S.C. § 1692 et seq. and 28 U.S.C. § 2201. The Court
26
           also has pendant jurisdiction over the State law claims in this action pursuant
27
           to 28 U.S.C. § 1367(a).
28

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 1        2.    Venue is proper in this judicial district pursuant to 28 U.S.C.
 2
          § 1391(b)(2).
 3

 4        3.    Plaintiff brings this action for damages and declaratory and injunctive
 5
          relief arising from the Defendants’ violations of 15 U.S.C. § 1692 et seq.,
 6

 7        commonly known as the Fair Debt Collections Practices Act (“FDCPA”),
 8
          and Cal. Civ. Code § 1788 et seq., commonly known as the Rosenthal Fair
 9
          Debt Collections Practices Act (“RFDCPA”).
10

11
                                         PARTIES
12
          4.    Plaintiff is a resident of the State of California, residing in the County
13

14        of Los Angeles.
15

16        5.    Defendant is a "debt collector" as the phrase is defined in 15 U.S.C.

17        § 1692(a)(6) and used in the FDCPA.
18

19     6. Defendant’s business address is 3608 Ocean Ranch Blvd., Oceanside,
20        California, 92056.
21

22                             FACTUAL ALLEGATIONS
23
          7.    Plaintiff incorporates by reference all of the above paragraphs of this
24
          Complaint as though fully stated herein with the same force and effect as if
25

26        the same were set forth at length herein.
27

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                                          COMPLAINT
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 1        8.    On information and belief, on a date better known to Defendant,
 2
          Defendant began collection activities on an alleged consumer debt from the
 3

 4        Plaintiff (“Alleged Debt”).

 5
          9.    The Alleged Debt was incurred as a financial obligation that was
 6

 7        primarily for personal, family or household purposes and is therefore a
 8
          “debt” as that term is defined by 15 U.S.C. § 1692a(5).
 9
10        10.   The reporting of a debt to a credit bureau is a “communication” as the
11
          term is defined by 15 U.S.C. § 1692a(2).
12

13        11.   Defendant reported the Alleged Debt on Plaintiff’s credit report.
14

15        12.   Plaintiff disputed the debt directly with Defendant by letter on April
16        26, 2015.
17

18        13.   Plaintiff examined her credit report again on June 20, 2015, and saw
19
          that Defendant had re-reported the Alleged Debt on her credit report in June
20
          of 2015. When Defendant re-reported the Alleged Debt on Plaintiff’s credit
21

22        report after having received her dispute letter, Defendant did not mark the
23
          account as “disputed by consumer” despite being required to do so by the
24
          FDCPA.
25

26
                              FIRST CAUSE OF ACTION
27                             (Violations of the FDCPA)
28
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 1        14.   Plaintiff incorporates by reference all of the above paragraphs of this
 2
          Complaint as though fully stated herein with the same force and effect as if
 3

 4        the same were set forth at length herein.

 5
          15.   Defendant’s debt collection efforts attempted and/or directed towards
 6

 7        Plaintiff violate various provisions of the FDCPA, including but not limited
 8
          to 15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), 1692e(10) and 1692f.
 9
10        16.   As a result of the Defendant’s violations of the FDCPA, Plaintiff has
11
          been damaged and is entitled to damages in accordance with the FDCPA.
12

13                           SECOND CAUSE OF ACTION
14                            (Violations of the RFDCPA)

15        17.   Plaintiff incorporates by reference all of the above paragraphs of this
16
          Complaint as though fully stated herein with the same force and effect as if
17

18        the same were set forth at length herein.

19
          18.   The RFDCPA requires debt collectors to comply with the FDCPA, and
20

21        a violation of the FDCPA is also a violation of the RFDCPA. Cal. Civ. Code
22        § 1788.17.
23

24        19.   The remedies under the FDCPA and RFDCPA are cumulative, and
25
          Plaintiff is entitled to damages under both acts.
26

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 1         20.    Upon information and belief, Defendant willfully and knowingly
 2
           committed the violations of the FDCPA and RFDCPA described herein, and
 3

 4         Plaintiff is entitled to statutory damages pursuant to Cal. Civ. Code

 5         § 1788.30(b).
 6

 7

 8

 9
                              DEMAND FOR TRIAL BY JURY
10

11         21.    Plaintiff demands and hereby respectfully requests a trial by jury for
12
           all claims and issues this complaint to which Plaintiff is or may be entitled to
13
           a jury trial.
14

15
                                  PRAYER FOR RELIEF
16

17
     WHEREFORE, Plaintiff demands judgment from the Defendants as follows:

18         a)     For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1)
19
     and Cal. Civ. Code § 1788.30(a);
20

21
           b)     For statutory damages provided and pursuant to 15 U.S.C.

22   § 1692k(a)(2)(A) and Cal. Civ. Code § 1788.30(b);
23
           c)     For attorney fees and costs provided and pursuant to 15 U.S.C.
24

25   § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);

26         d)     A declaration that the Defendant’s practices violated the FDCPA and
27
     the RFDCPA; and
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 1         e)    For any such other and further relief, as well as further costs, expenses
 2
     and disbursements of this action as this Court may deem just and proper.
 3

 4   Dated: February 10, 2016
                                                         THE LAW OFFICES OF
 5                                                       JONATHAN A. STIEGLITZ
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                                                   By:         /s/Jonathan A Stieglitz
 7                                                       Jonathan A Stieglitz
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                                          COMPLAINT
